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JS 44 (Rev. 0/16)                                                        CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                            DEFENDANTS
          AdvoCare International, LP                                                                        Modere, Inc.


    (b) County of Residence of First Listed Plaintiff             Collin County                              County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                             NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                        THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)
          Lynn Pinker Cox & Hurst                                                                              Andrews, Kurth, Kenyon, LLP
          Eric Pinker, Bar No. 16016550                                                                        Marc Katz, James Bookhout
          2100 Ross Avenue, Suite 2700                                                                         1717 Main Street, Suite 3700
          Dallas, Texas 75201                                                                                  Dallas, Texas 75201
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                        III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                         (For Diversity Cases Only)                                        and One Box for Defendant)
u 1    U.S. Government                u 3    Federal Question                                                                     PTF        DEF                                          PTF      DEF
         Plaintiff                             (U.S. Government Not a Party)                        Citizen of This State          x
                                                                                                                                  u 1        u 1      Incorporated or Principal Place     xu 4      u 4
                                                                                                                                                        of Business In This State

u 2    U.S. Government               xu 4    Diversity                                              Citizen of Another State          u 2    xu   2   Incorporated and Principal Place    u 5     xu   5
         Defendant                             (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                    Citizen or Subject of a           u 3     u   3   Foreign Nation                      u 6     u 6
                                                                                                      Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                     &OLFNKHUHIRU1DWXUHRI6XLW&RGH'HVFULSWLRQV
           CONTRACT                                            TORTS                                  FORFEITURE/PENALTY               BANKRUPTCY                   OTHER STATUTES
u   110 Insurance                      PERSONAL INJURY                PERSONAL INJURY               u 625 Drug Related Seizure          u 422 Appeal 28 USC 158           u 375 False Claims Act
u   120 Marine                       u 310 Airplane                 u 365 Personal Injury -               of Property 21 USC 881        u 423 Withdrawal                  u 376 Qui Tam (31 USC
u   130 Miller Act                   u 315 Airplane Product               Product Liability         u 690 Other                               28 USC 157                        3729(a))
u   140 Negotiable Instrument               Liability               u 367 Health Care/                                                                                    u 400 State Reapportionment
u   150 Recovery of Overpayment      u 320 Assault, Libel &               Pharmaceutical                                                  PROPERTY RIGHTS                 u 410 Antitrust
        & Enforcement of Judgment           Slander                       Personal Injury                                               u 820 Copyrights                  u 430 Banks and Banking
u   151 Medicare Act                 u 330 Federal Employers’             Product Liability                                             u 830 Patent                      u 450 Commerce
u   152 Recovery of Defaulted               Liability               u 368 Asbestos Personal                                             u 840 Trademark                   u 460 Deportation
        Student Loans                u 340 Marine                         Injury Product                                                                                  u 470 Racketeer Influenced and
        (Excludes Veterans)          u 345 Marine Product                 Liability                             LABOR                       SOCIAL SECURITY                     Corrupt Organizations
u   153 Recovery of Overpayment             Liability                PERSONAL PROPERTY              u 710 Fair Labor Standards          u   861 HIA (1395ff)              u 480 Consumer Credit
        of Veteran’s Benefits        u 350 Motor Vehicle            u 370 Other Fraud                      Act                          u   862 Black Lung (923)          u 490 Cable/Sat TV
u   160 Stockholders’ Suits          u 355 Motor Vehicle            u 371 Truth in Lending          u 720 Labor/Management              u   863 DIWC/DIWW (405(g))        u 850 Securities/Commodities/
x
u   190 Other Contract                     Product Liability        u 380 Other Personal                   Relations                    u   864 SSID Title XVI                  Exchange
u   195 Contract Product Liability   u 360 Other Personal                 Property Damage           u 740 Railway Labor Act             u   865 RSI (405(g))              u 890 Other Statutory Actions
u   196 Franchise                          Injury                   u 385 Property Damage           u 751 Family and Medical                                              u 891 Agricultural Acts
                                     u 362 Personal Injury -              Product Liability                Leave Act                                                      u 893 Environmental Matters
                                           Medical Malpractice                                      u 790 Other Labor Litigation                                          u 895 Freedom of Information
        REAL PROPERTY                    CIVIL RIGHTS                PRISONER PETITIONS             u 791 Employee Retirement             FEDERAL TAX SUITS                     Act
u   210 Land Condemnation            u 440 Other Civil Rights         Habeas Corpus:                      Income Security Act           u 870 Taxes (U.S. Plaintiff       u 896 Arbitration
u   220 Foreclosure                  u 441 Voting                   u 463 Alien Detainee                                                       or Defendant)              u 899 Administrative Procedure
u   230 Rent Lease & Ejectment       u 442 Employment               u 510 Motions to Vacate                                             u 871 IRS—Third Party                   Act/Review or Appeal of
u   240 Torts to Land                u 443 Housing/                       Sentence                                                             26 USC 7609                      Agency Decision
u   245 Tort Product Liability             Accommodations           u 530 General                                                                                         u 950 Constitutionality of
u   290 All Other Real Property      u 445 Amer. w/Disabilities -   u 535 Death Penalty                   IMMIGRATION                                                           State Statutes
                                           Employment                 Other:                        u 462 Naturalization Application
                                     u 446 Amer. w/Disabilities -   u 540 Mandamus & Other          u 465 Other Immigration
                                           Other                    u 550 Civil Rights                    Actions
                                     u 448 Education                u 555 Prison Condition
                                                                    u 560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
X 1 Original
u                        u 2 Removed from                u 3        Remanded from              u 4 Reinstated or       u 5 Transferred from     u 6 Multidistrict                  u 8 Multidistrict
    Proceeding               State Court                            Appellate Court                Reopened                Another District             Litigation -                    Litigation -
                                                                                                                       (specify)                        Transfer                       Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION Brief description of cause:
                                            Tortious interference, misappropriation of trade secrets and conspiring
VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION                                                DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                      75,000                     JURY DEMAND:         ux Yes    u No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                            DOCKET NUMBER
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD
          03/22/2017
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                    APPLYING IFP                                      JUDGE                          MAG. JUDGE
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JS 44 Reverse (Rev. 0/16)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      1DWXUHRI6XLW3ODFHDQ;LQWKHDSSURSULDWHER[,IWKHUHDUHPXOWLSOHQDWXUHRIVXLWFRGHVDVVRFLDWHGZLWKWKHFDVHSLFNWKHQDWXUHRIVXLWFRGH
         WKDWLVPRVWDSSOLFDEOH&OLFNKHUHIRU1DWXUHRI6XLW&RGH'HVFULSWLRQV


V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
